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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                            :
UNITED STATES OF AMERICA                    :
                                            :
              v.                            :       Case No. 21-cr-88-DLF
                                            :
RONALD SANDLIN,                             :
                                            :
                        Defendant.          :

   RESPONSE TO DEFENDANT’S NOTICE REGARDING ABILITY TO PAY FINE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to the defendant’s Notice Regarding

Ability to Pay Fine. ECF No. 97. The government reiterates its request that Mr. Sandlin be

ordered to pay a $20,000 fine. In support thereof, the government states as follows:

       1. As the Court noted during the defendant’s sentencing hearing on December 9, 2022,

           the defendant’s Guidelines presume that he should pay a fine.        See Presentence

           Investigation Report (“PSR”) ¶ 124 (noting Guidelines fine range between $25,000 and

           $250,000).

       2. In determining whether to impose a fine, the sentencing court should consider the

           defendant’s income, earning capacity, and financial resources, as well as whether a

           defendant has sought to “capitalize” on a crime that “intrigue[s]” the “American

           public.” See 18 U.S.C. § 3572(a)(1); U.S.S.G. § 5E1.2(d); United States v. Seale, 20

           F.3d 1279, 1284-86 (3d Cir. 1994).

       3. These proceedings have amply shown that the defendant is intelligent, technically

           advanced, and quite capable of generating significant income.       Indeed, his prior


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               marketing business once generated approximately $300,000 in annual profits. PSR ¶

               86. He also has an art collection available for liquidation and earned approximately

               $15,000 from the sale of his watches. Id. ¶ 92.

           4. The record also shows that Mr. Sandlin has capitalized on his participation in the riot

               at the United States Capitol on January 6, 2021, on multiple occasions. He created his

               GiveSendGo account in September 2021 under the banner, “Mexican J6er Political

               Prisoner in DC’s Gitmo.” See ECF No. 97; Gov’t Sentencing Ex. 24; PSR ¶ 93. In

               the guise of soliciting funds for “legal fees,” Mr. Sandlin raised over $21,000 in

               donations, which he then used for personal expenses. ECF No. 97; Gov’t Sentencing

               Ex. 24. He presumably achieved such success in his donation campaign by claiming

               “racist” treatment during his detention proceedings and requesting help to “fight

               tyranny and a corrupt DOJ.” See Gov’t Sentencing Ex. 24. And as noted previously,

               he has no legal fees to speak of—given that he has enjoyed the services of a court-

               appointed attorney since Day One of this case—and thus his donation campaign

               appears to be based on false pretenses.

           5. Incredibly, the defendant appears to have spent over $13,500 from his donated funds

               during his time in custody. ECF No. 97 ¶¶ 3-4. Even if his use of these funds was

               legitimate, 1 U.S. taxpayers should not have to foot the bill of his basic incarceration

               expenses, the costs of his prosecution, and his legal defense fees when Mr. Sandlin can

               in fact afford to reimburse them partially just so that he can create the most comfortable

               environment for himself (e.g., watching Netflix) while incarcerated. See id. ¶ 4.



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    The government questions, however, the legitimacy of his providing funds to fellow inmates.
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6. Although the Probation Office ultimately did not recommend a fine in this case, it did

   conclude based on his reported assets and donations that he has the ability to pay a fine.

   PSR ¶ 95. Here, a $20,000 fine is more than appropriate to achieve the ends of

   sentencing and effectively negate the defendant’s attempts to profit from his serious

   crimes.



                                      Respectfully submitted,

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